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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTMCT OF LOUISIANA
                                  LAFAYETTE DIVISION


  STATE OF LOUISIANA ETAL CASE NO. 6:22-CV-00885

  VERSUS JUDGE ROBERT R. SUMMERHAYS

  CENTERS FOR DISEASE CONTROL & MAGISTRATE JUDGE CAROL B.
  PREVENTION, ET AL WHITEHURST


                                  PRELIMmARY INJUNCTION

         Presently before the Court is the Plaintiff States5 Motion for Preliminary Injunction [ECF

  No. 13]. An opposition was filed by the Centers for Disease Control & Prevention, Rochelle


  Walensky, U.S. Department of Health & Human Services, Xavier Becerra, U.S. Department of


  Homeland Security, Alejandro Mayorkas, U.S. Customs & Border Protection, Christopher


  Magnus, U.S. Immigration & Customs Enforcement, Tae Johnson, U.S. Citizenship &


  Immigration Services, Ur Jaddou, U.S. Border Patrol, Raul Ortiz, U.S. Department of Justice,


  Merrick Garland, Executive Office of Immigration, David Neal, Joseph R. Biden, Jr., and the


  United States of America (collectively "Defendants"). A hearing on the Motion was held on May


  13, 2022. For the reasons stated in the Court's Memorandum Ruling,


         IT IS ORDERED THAT the Plaintiff States' Motion for Preliminary Injunction [ECF No.

  13] is GRANTED;

         IT IS FURTHER ORDERED THAT Defendants, in their official capacities; their servants,

  agents, and employees; and all persons in active concert or participation with them, who receive


  actual notice of this Preliminary Injunction, and until a full trial on the merits is had, are hereby
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  enjoined from enforcing the April 1, 2022 Order Under Sections 362 & 365 of the Public Health

  Semce Act anywhere within the United States;


          IT IS FURTHER ORDERED THAT while this order is m effect, DHS shall file monthly

  reports providing (i) the number of single adults processed under Title 42 and Title 8 by country,

  (ii) the number of recidivist border crossers for whom DHS has applied expedited removal, (iii)

  the number of migrants that have been excepted from Title 42 under the NGO-supported


  humanitarian exception process, and (iv) any material changes to policy regarding DHS's


  application of the Title 42 process.


          IT IS FURTHER ORDERED THAT no bond is required.

            THUS DONE m Chambers on this 20th day of May, 2022.




                                                          ROBERfR. SUMMEI
                                                       UNITED STATES DISTRICT,




  1 87 Fed. Reg. 19,941 (Apr. 6, 2022).
